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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINAL NO. RDB-24-01

V.

BRENDA CHUNGA,
a/k/a “Bitcoin Bueatee,”

Defendant.

ORDER TO UNSEAL THE INDICTMENT

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For good cause shown upon motion of the United States of America, it is this oF
day of January 2024, by the United States District Court for the District of Maryland, hereby

ORDERED that the above-captioned case be, and the same hereby is, UNSEALED.

LUPRE,IC

Hon. Richard D. Bennett
United States District Judge

